                                                            Case 5:20-cv-01889-EGS Document 1-1 Filed 04/14/20 Page 1 of 1

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